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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION




FAIR FIGHT ACTION, INC, et al.,

     Plaintiffs,

     v.

BRAD RAFFENSPERGER, et al.,
                                              Civ. Act. No. 18-cv-5391 (SCJ)

  Defendants.




     PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF
    MOTION FOR A TEMPORARY RESTRAINING ORDER AND
                PRELIMINARY INJUNCTION
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      Plaintiffs Fair Fight Action, Inc., Care in Action, Inc., Ebenezer Baptist

Church of Atlanta, Georgia, Inc., Baconton Missionary Baptist Church, Inc.,

Virginia-Highland Church, Inc., and the Sixth Episcopal District, Inc., hereby file

this Memorandum of Law in Support of their Emergency Motion for a Temporary

Restraining Order barring Defendants from conducting a purge of Georgia’s voter

roll on or around December 16, 2019. As detailed in this memorandum, Plaintiffs

respectfully ask this Court to enjoin Defendants from purging the voter rolls of

“inactive” voters until Plaintiffs have the opportunity to seek a preliminary

injunction to bar such purges during the pendency of this case.

                                 INTRODUCTION

      Defendant Brad Raffensperger, in his official capacity as Georgia’s Secretary

of State (“SOS”) plans to purge more than 300,000 registered Georgia voters from

the current voter roll on or around December 16, 2019. As SOS General Counsel

Ryan Germany revealed in his deposition on December 11, this purge will remove

from the rolls people who are eligible to vote under the currently applicable Georgia

statute. Specifically, 120,561 individuals will be removed solely because they have

not voted or had any other statutorily-defined “contact” with election officials in the

past seven years and have not responded to two notices seeking confirmation of their

current address. The SOS is treating those facts as a proxy for proof that these voters
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have moved to a different county or state.1 But under current Georgia law, enacted

this year through House Bill (“H.B.”) 316, such an inference may not be drawn

unless the voter had “no contact” with the State for at least nine years.2

      H.B. 316 was signed into law with the express purpose of making Georgia’s

elections more “secure and fair” in large part by lengthening the period of inactivity

required before a voter could be purged. In order to justify purging voters who have

been inactive for less than nine years, the SOS claims H.B. 316 does not apply

“retroactively”. See Germany Dep. (Rough) at 47:10-14, attached as Exhibit A.

Retroactivity is a red herring. H.B. 316—which expressly repealed all prior contrary

laws—is current, governing, law and the SOS is obligated to comply with it when

purging the voter rolls. Indeed, the SOS recognizes this reality at least in part

because it sent a second notice to voters it planned to purge from the rolls 30 to 60

days ago, a requirement imposed only by H.B. 316. The SOS cannot pick and choose

which parts of the law to follow and which parts to violate in its eagerness to purge

voters before the 2020 election.




1
  Under the federal National Voter Registration Act, a voter may not be purged solely
because of not voting. 52 U.S.C. § 20507(b)(2). For that reason, states that purge
based on voter inactivity do so treating the inactivity as a proxy indicator that a voter
has moved to a different county or state. See Husted v. A. Philip Randolph Inst., 138
S. Ct. 1833 (2018).
2
  H.B. 316 modified Georgia law in several respects. In this brief, Plaintiffs use
“H.B. 316” as shorthand for the changes made to O.C.G.A. §§ 21-2-234 and -235.

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      Critically, the anticipated purge violates not only state law but also the

constitutional right to vote. Because the State is relying on inactivity alone as a basis

for purging voters, it is certain that a substantial number of the people to be purged

have not moved and remain validly registered. Moreover, at least 120,561 of those

voters are ineligible for purging under state law, so cancellation of their registration

imposes a severe burden. Imposing such a heavy burden on the right to vote can be

justified only if the State has a compelling interest and deregistration is narrowly

tailored to that interest. But because Georgia law now permits an individual to be

deregistered only after nine years of “no contact,” Georgia has no interest—

compelling or otherwise—in deregistering an individual after seven years. Indeed,

removing these voters from the rolls undermines the State’s interests as embodied in

Georgia law.

      For this reason, the SOS’s anticipated purge of the voter rolls today will

violate the First and Fourteenth Amendments. Plaintiffs therefore seek emergency

injunctive relief to prevent the SOS from removing Georgia residents from its voter

rolls and ask this Court to preserve the status quo until this Court reaches a final

decision on the merits of Plaintiffs’ claims.




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                                 BACKGROUND

       A.     Georgia Law Regarding Voter Purges

       The SOS is the State’s chief election official and is responsible for

maintaining an official list of registered voters. O.C.G.A. § 21-2-211(a). State and

federal law require the SOS to purge from that list individuals who have moved to a

different county or state, died, been convicted of a relevant felony, or been declared

mentally incompetent. See O.C.G.A. §§ 21-2-231, -232; 52 U.S.C. § 20507; Am.

Compl. ¶ 69, ECF No. 41.

       In addition to providing for removal of persons who affirmatively notify

election officials they have moved to a different county or state, Georgia law

attempts to identify voters who have moved away in three ways: (i) voters who have

filed a National Change of Address (“NCOA”) form with the U.S. Postal Service;

(ii) voters whose mail has been returned as undeliverable; and (iii) voters who have

had “no contact” with election officials for a specified period of time. See O.C.G.A.

§§ 21-2-233, -234; Germany Dep. (Rough) at 41:7-13. As required by state and

federal law, in odd-numbered years, such voters are placed into “inactive” status and

if they do not vote for two more general elections (essentially four more years) they

are purged from the rolls. See O.C.G.A. §§ 21-2-233, -234, -235; 52 U.S.C. § 20507.

       Georgia law currently defines a voter as having had “no contact” with the

State if the voter:


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      [H]as not filed an updated voter registration card, has not filed a change of
      name or address, has not signed a petition which is required by law to be
      verified by the election superintendent of a county or municipality or the
      Secretary of State, has not signed a voter’s certificate, has not submitted an
      absentee ballot application or voted an absentee ballot, and has not confirmed
      the elector’s continuation at the same address during the preceding five
      calendar years.

O.C.G.A. § 21-2-234(a)(1) (emphasis added). Adding these five years to the four

years during which a “no contact” voter remains on the rolls in inactive status,

Georgia law requires a total period of inactivity of nine years before a person can be

purged based on a presumption that he or she has moved away.

      Before April 2019, Georgia law was different. A no-contact voter could be

sent a notice and placed in inactive status after only three years of inactivity. See

O.C.G.A. § 21-2-234 (2018). There would then follow the same four years of

inactive status before a voter could be purged. Id. §§ 21-2-234(g), -235. So, prior

to April 2019, a voter could be purged from the rolls after a minimum of seven years

of inactivity. See, e.g., Br. of Appellee at 11, Common Cause v. Kemp, 714 F. App’x

990 (11th Cir. 2018) (No. 17-11315), 2017 WL 3124358 (“[V]oters are only

removed from Georgia’s voter-registration list if they have not had any contact (as

defined in the statute) with election officials in Georgia for a minimum of seven

years, including four federal election cycles. . . .”).

      On April 2, 2019, the law changed. See H.B. 316 § 51, 155th Gen. Assemb.,

Reg. Sess. (Ga. 2019).       As this Court recognized in its Order resolving the


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Defendants’ Motion to Dismiss, H.B. 316 made two key changes to Georgia’s

process for purging voters due to inactivity. See Order Denying Mot. to Dismiss In

Part at 23, 30-31, ECF No. 68. First, voters cannot be classified as “inactive” unless

they have had “no contact” with election officials for at least five years, as opposed

to three years under the prior regime. See O.C.G.A. § 21-2-234(a)(2). Second, the

SOS is required to send a second notification to inactive voters (after the initial

notice, sent after five years of “no contact”) 30-60 days before the State removes

them from the voter rolls. O.C.G.A. § 21-2-235(b). In promulgating this new

regime, H.B. 316 repealed “[a]ll laws and parts of laws in conflict” with its

provisions. H.B. 316 § 51.

      Under current law, therefore, the State may purge voters only after a minimum

of nine years of inactivity: five years of “no contact” before being labeled “inactive,”

plus at least four years of “no contact” after being labeled “inactive.” See id. § 21-

2-235(b); -234(a)(1). Following months of national press attention and mounting

concerns that the pre-April 2019 regime purged many eligible voters from the

registration rolls ahead of the 2018 elections, the legislature enacted these changes

(including the change from seven to nine years of inactivity) to achieve “a secure

and fair election.”    Ga. S. Weekly Report, 2019 Reg. Sess. (Mar. 19, 2019)

(describing the purpose of H.B. 316); see, e.g., Angela Caputo, Geoff Hing, &

Johnny Kaufman, They Didn’t Vote . . . Now They Can’t, APMReports (Oct. 19,


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2018), https://www.apmreports.org/story/2018/10/19/georgia-voter-purge (stating

that 107,000 people were purged in July 2017 for not voting); Erin Durkin, GOP

Candidate Improperly Purged 340,000 from Georgia Voter Rolls, Investigation

Claims,    Guardian     (Oct.    19,   2018),     https://www.theguardian.com/us-

news/2018/oct/19/georgia-governor-race-voter-suppression-brian-kemp (describing

investigation alleging over 340,000 voters were purged improperly).

      B.    Factual Background

      The Plaintiffs in this case, as part of their respective missions, promote and

protect fair elections in Georgia. See Am. Compl. ¶¶ 10-35. In this suit they

challenge several modes of voter suppression perpetrated by Defendants, including

purging voters who allegedly have had “no contact” with the State—a policy known

as “Use It or Lose It.” Id. ¶¶ 68-81. Plaintiffs have been and will be required to

divert substantial resources from their other projects to counter Defendants’

unlawful attempts at voter suppression and disenfranchisement. See id. ¶¶ 10-35;

Order Denying Mot. to Dismiss at 13-22 (denying the Defendants’ motion to dismiss

on standing grounds).

      In his December 11, 2019 deposition, SOS’s General Counsel Ryan Germany

testified the SOS intends to purge voters from its rolls on or around Monday,




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December 16, 2019. Germany Dep. (Rough) at 38:15-16.3 Germany further

revealed that this purge encompasses voters who have had only seven years of

inactivity, not nine. See Germany Dep. (Rough) at 42:10-21, 45:12-17. Using its

standard of seven years of inactivity, the SOS plans to purge 120,561 voters for

inactivity. See Office of Brad Raffensperger, Georgia Secretary of State, Georgia

Secretary of State’s Office Cleans Voter File by 4 Percent as Required by Law,

https://sos.ga.gov/index.php/elections/georgia_secretary_of_states_office_cleans_

voter_file_by_4_as_required_by_law (last accessed Dec. 14, 2019). 4          In other

words, the SOS is ignoring the very state law that requires a voter be inactive for

nine years prior to deregistration.

      A purge using inactivity as proof that a voter has moved out of the county will

inevitably deregister a substantial number of people who have not moved and remain

eligible to vote. First, many voters show up at the polls only sporadically. Voter

turnout in Georgia, even in general elections, hovers around 60%, see Voter Turnout

in United States Elections, Ballotpedia, https://ballotpedia.org/Voter_turnout_in_



3
  Germany initially testified that he “believe[d]” the purge would occur on December
16 or “a date around there.” Germany Dep. (Rough) at 38:15-16. After his counsel
instructed him not to speculate, Germany clarified that he believes the purge
“happens next week.” Id. at 38:12-20.
4
  After discovering that the SOS planned to purge voters based on unlawful criteria,
the Plaintiffs asked the SOS to delay the purge in light of the ongoing litigation, as
the SOS has done in the past. See December 14 Letter to Josh Belinfante, attached
as Exhibit K. The SOS has declined the request.

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United_States_elections (last accessed Dec. 14, 2019). Second, the confirmation

notices sent to inactive voters are largely ineffectual.         In Georgia, just like

everywhere else in the country, the large majority of such notices are ignored by the

voters who receive them. See United States Election Assistance Commission,

Election Administration and Voting Survey 2018 Comprehensive Report: A Report

to the 116th Congress at 78 (2019), https://www.eac.gov/assets/1/6/2018_

EAVS_Report.pdf (“2018 EAVS Report”) (Exhibit B). Third, leaving aside the

300,000 voters currently on the SOS’s “inactive” list those voters who posted a

change of address with the U.S. Postal Service or whose mailings were returned

“addressee unknown,” many if not most of the remaining 120,561 are certain to be

inactive non-movers. Indeed, state law recognizes that some of the people placed

on the inactive list and subject to purge have not moved. See O.C.G.A. § 21-2-

235(a) (voter on inactive list may be returned to full registration status if the elector

verifies that he or she “still resides at the address listed on the elector’s registration

records.”).

      The actual experiences of Georgia voters confirm that the State’s inactive-

voter list includes people who have not moved. Linda Bradshaw has lived at the

same address since 2007, last voted in 2017, and nonetheless received notice from

the State that she is to be removed from the rolls. See Declaration of Linda Bradshaw

¶¶ 3-5, attached as Exhibit C. Tommie Jordan has lived in the same house for over


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thirty years, last voted in 2018, and received notice that he is to be removed from the

rolls. See Declaration of Tommie Jordan ¶¶ 3-5, attached as Exhibit D. Deepak

Eidnani is in the same position—on the list of inactive voters to be purged even

though he has lived at the same address for more than eighteen years and last voted

fewer than nine years ago. See Declaration of Deepak Eidnani ¶¶ 4-5, attached as

Exhibit E. Clifford Thomas has lived at his address for decades, but he too is on the

list to be purged. See Declaration of Clifford Thomas ¶¶ 3, 6, attached as Exhibit F.

David Hopkins has not voted since 2008, and he recently found out that he is on the

list of voters to be purged even though he has not moved and never received any

notice in the mail from the State. See Declaration of David Hopkins ¶¶ 4-5, attached

as Exhibit G; see also Declaration of Charlesetta Young, Declaration of Kilton

Smith, and Declaration of Keme Hawkins, attached as Exhibits H, I, and L. For

these Georgians and countless others, the SOS’s efforts to remove so-called inactive

voters represents a great threat to their constitutional rights.

                                     ARGUMENT

       A movant seeking a TRO must show: (1) a substantial likelihood of success

on the merits; (2) irreparable injury if the relief is not granted; (3) that the threatened

injury outweighs the harm the relief would inflict on the non-movant; and (4) that

entry of the relief would serve the public interest. See, e.g., Schiavo ex rel. Schindler

v. Schiavo, 403 F.3d 1223, 1225–26 (11th Cir. 2005) (per curiam) (quoting Ingram


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v. Ault, 50 F.3d 898, 900 (11th Cir. 1995)); see also Allstate Ins. Co. v. Shah, No.

1:16-CV-997-SCJ, 2016 WL 10906482, at *1 (N.D. Ga. May 20, 2016) (Jones, J.).

Plaintiffs satisfy each of these requirements.

      A.     Plaintiffs Are Likely To Prevail On the Merits of Their Claims.

      The SOS can offer no justification, let alone the compelling justification the

Constitution demands, for deregistering voters the Georgia Legislature has decided

should remain on the voting rolls.

      Restrictions on voting burden “the right of individuals to associate for the

advancement of political beliefs, and the right of qualified voters, regardless of their

political persuasion, to cast their votes effectively.” Anderson v. Celebrezze, 460

U.S. 780, 787 (1983) (quoting Williams v. Rhodes, 393 U.S. 23, 30-31 (1968)).

These rights “rank among our most precious freedoms” and are, accordingly,

protected by the First Amendment and the Due Process Clause of the Fourteenth

Amendment. Id.; see also Wesberry v. Sanders, 376 U.S. 1, 17 (1964) (“No right is

more precious in a free country than that of having a voice in the election of those

who make the laws.”).

      To determine whether a restriction on the right to vote violates Due Process

or the First Amendment, courts apply a “balancing approach.” Crawford v. Marion

Cty. Election Bd., 553 U.S. 181, 190 (2008) (plurality opinion). The court “first

consider[s] the character and magnitude of the asserted injury to the rights protected


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by the First and Fourteenth Amendments that the plaintiff seeks to vindicate.”

Anderson, 460 U.S. at 789. It then “identif[ies] and evaluate[s] the precise interests

put forward by the State as justifications for the burden imposed by its rule.” Id.

The court must “not only determine the legitimacy and strength of each of those

interests; it must also consider the extent to which those interests make it necessary

to burden the plaintiff’s rights.” Id. “Only after weighing all these factors is the

reviewing court in a position to decide whether the challenged provision is

unconstitutional.” Id.; see also Burdick v. Takushi, 504 U.S. 428, 434 (1992).

      When a state imposes only “reasonable, nondiscriminatory restrictions” upon

the right to vote, a “State’s important regulatory interests are generally sufficient to

justify” those restrictions. Burdick, 504 U.S., at 434 (quotation marks omitted).

Thus, when a state requires voters to produce photo identification that is available to

registered voters free of charge, the Eleventh Circuit has held the “insignificant

burden imposed . . . is outweighed by the interests in detecting and deterring voter

fraud.” Common Cause/Georgia v. Billups, 554 F.3d 1340, 1354 (11th Cir. 2009).

But if a state imposes a “severe” burden on the right to vote, the state’s regulation

“must be ‘narrowly drawn to advance a state interest of compelling importance.’”

Id. at 1355 (quoting Burdick, 504 U.S. at 434). The disenfranchisement of voters

that occurs when they are removed from the voter rolls—as will occur if the

scheduled purge takes place—is amongst the severest burdens upon the right to vote


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that exist. Ga. Coal. for the People’s Agenda, Inc. v. Kemp, 347 F. Supp. 3d 1251,

1264 (N.D. Ga. 2018), makes this clear. The plaintiffs sought emergency relief for

individuals whose voter registration applications had been flagged by the State and

placed in pending status due to citizenship. Id. at 1257. The State argued that these

individuals could still exercise the right to vote by verifying their citizenship, but the

court concluded that doing so took more than a “nominal effort.” Id. at 1261-62,

1264. The court concluded the plaintiffs “ha[d] shown a substantial likelihood of

success that the burden” on their right to vote was “severe.” Id. at 1264. Similarly

here, voters who have been deregistered pursuant to this purge would be required

not only to learn they had been deregistered prior to Election Day but then go through

the various steps required to re-register in advance of Election Day itself given

Georgia’s prohibition on same-day registration. See infra 16.

      As noted above, in purging its voter lists based on “no contact,” Georgia

purports to be attempting to remove from the rolls voters who have left the county

or State. But a purge based solely on inactivity without any other evidence that

people have relocated—as will be the case for the voters set to be purged today with

seven years of “no contact”—raises a substantial risk that individuals will be

erroneously deprived of their constitutional right to vote. Georgia mailed 478,295

voter confirmation notices in advance of the 2018 election to individuals it suspected

of having moved. See 2018 EAVS Report at 78 (Table 3a). The status of over three


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quarters of those notices—representing 365,150 voters—is unknown, meaning that

the voter did not send the confirmation back to the State and the notice was also not

returned as undeliverable. See id. Beyond the mere fact that these notices were not

returned, Defendants have no reason to believe that any of the voters being removed

are actually voters who have moved, died, or otherwise become ineligible to vote).5

Indeed, the experiences of myriad Georgia voters, including those discussed above,

voters confirm that the State’s effort to use inactivity as a proxy for having moved

yields erroneous—and unconstitutional—results. See Exhibits C-I, L. The risk that

Georgia residents are being erroneously disenfranchised based on inactivity is

significant.

      Moreover, once a voter is deregistered based on inactivity, the likelihood of

complete disenfranchisement, at least for the next general election, is very high.

Individuals subject to the purge are supposed to receive a notice 30 to 60 days before

the purge, see O.C.G.A. § 21-2-235(b), but there is no guarantee that voters will

receive or read that notice—again, the status of over 75% of notices sent in 2018

was completely unknown. See 2018 EAVS Report at 78 (Table 3a). Because the

State provides no post-purge notice to individuals who are struck from the rolls,


5
  As this Court recognized in its Order resolving the Defendants’ Motion to Dismiss,
the Supreme Court’s decision in Husted poses no bar to Plaintiff’s constitutional
challenge because Husted addressed only whether the challenged voter-list-
maintenance process complied with the National Voter Registration Act, not with
First Amendment requirements. See Order Denying Mot. To Dismiss at 79-80.

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individuals who for whatever reason did not see or respond to the pre-purge notice

may not even discover that they have been deregistered until they arrive at the polls

to vote on Election Day. But Georgia does not provide same-day registration, so

any voters who learn on Election Day that they have been purged simply cannot vote

at all. See O.C.G.A. § 21-2-224 (setting registration deadlines in advance of

elections).

      Even in the rare case that a voter discovers prior to Election Day that he or

she has been purged from the rolls, Georgia makes reregistering and ultimately

exercising the right to vote a difficult task. Georgia sets a registration deadline well

in advance of state elections. See O.C.G.A. § 21-2-224 (voters must register for a

general primary, general election, or presidential preference primary roughly one

month before the date of the election); 2020 State Elections and Voter Registration

Calendar, https://sos.ga.gov/admin/files/2020_Short_Calendar.pdf (last visited

Dec. 14, 2019) (listing registration deadlines in advance of elections). If a voter

purged tonight found out tomorrow about the purge, he or she would have just over

two months to reregister to be eligible to vote in the next statewide election. Id. In

short, once voters have been removed from Georgia’s voter rolls, numerous

obstacles prevent them from reregistering. This combination of factors imposes a

severe burden upon voters’ First Amendment rights and a very real likelihood of

disenfranchisement for no valid reason.


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      To evaluate the permissibility of this substantial burden on voter’s First

Amendment rights, the Court must determine whether the anticipated purge is

justified by a compelling state interest and narrowly tailored to achieve that interest.

See Crawford, 553 U.S. at 190 (plurality opinion) (looking to the “precise interests

put forward by the State as justifications for the burden imposed by its rule” (quoting

Burdick, 504 U.S. at 434 (internal quotation marks omitted))). The state’s interest

can best be determined through the legislation it passes. See, e.g., Addington v.

Texas, 441 U.S. 418, 426 (1979) (looking to Texas law to define the state’s interest

in confining individuals involuntarily); FDIC. v. Loudermilk, 826 S.E.2d 116, 120

(Ga. 2019) (“[W]e presume that the General Assembly meant what it said and said

what it meant when it comes to the meaning of statutes” (internal quotation marks

omitted)).

      The Georgia legislature has directly addressed the State’s interest in cleaning

up voter rolls and what it said makes clear that the anticipated purge, far from serving

a compelling interest of the State, is actually directly in conflict with the State’s

interest. Prior to H.B. 316, Georgia had claimed an interest in purging voters who

were inactive for seven years. See O.C.G.A. §§ 21-2-234, -235 (2018). But the

legislature repudiated that interest over eight months ago when it enacted H.B. 316.

See O.C.G.A. §§ 21-2-234, -235. Expressly repealing “[a]ll laws and parts of laws

in conflict,” H.B. 316 § 51, 155th Gen. Assemb., Reg. Sess. (Ga. 2019), Georgia law


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now unambiguously prohibits the State from deregistering individuals on the basis

of inactivity unless those individuals have had “no contact” for nine or more years.

See O.C.G.A. § 21-2-235 (explicitly incorporating the revised definition of “no

contact” from O.C.G.A. § 21-2-234). SOS’s planned purge will deregister voters

who do not meet this nine-year threshold. See Germany Dep. (Rough) at 42:12-

43:24.

         Whatever goals the SOS may believe this purge achieves are irrelevant

because the SOS’s judgment conflicts with the State’s interest as enacted into law

by the legislature. A state has no interest—let alone a compelling interest—in

violating its own law. See Nation v. San Juan Cty., 150 F. Supp. 3d 1253, 1269 (D.

Utah 2015) (“A county or other local governing body cannot have a legitimate

governmental interest in violating state law”), aff’d sub nom. Navajo Nation v. San

Juan Cty., 929 F.3d 1270 (10th Cir. 2019). The Third Circuit’s decision in Doe v.

Pennsylvania Board of Probation & Parole, 513 F.3d 95 (3d Cir. 2008), is

instructive. Pennsylvania imposed greater burdens on out-of-state sex offenders

than it did upon in-state sex offenders, notwithstanding that the State had signed an

intrastate compact prohibiting such disparate treatment. Id. at 108. The Third

Circuit invalidated Pennsylvania’s disparate treatment of out-of-state offenders on

Equal Protection grounds, noting that “the Commonwealth’s approval and

participation in the Interstate Compact invalidate[d] any rational connection between


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the Compact’s stated goals and the Commonwealth’s disparate treatment of in-state

and out-of-state offenders.” Id. at 110. In so holding, the court recognized it was

not its role to “judge the wisdom, fairness, or logic of legislative choices,” id.

(quoting FCC v. Beach Commc’ns, Inc., 508 U.S. 307, 313 (1993)). Rather, it could

only interpret the state’s interest with reference to “the performance it agreed to.”

Id. A similar approach is called for here: any made-for-litigation effort by the SOS

to cast the seven-year purge as advancing a state interest cannot override the contrary

judgment made by the Georgia General Assembly. 6

      Even the SOS acknowledges that the planned voter purge will not serve a

legitimate, much less a compelling, state interest. See Harvey Dep. at 345:22–

349:19, attached as Exhibit J (acknowledging that Georgia Elections Director Chris

Harvey could not conclusively say whether the no-contact requirement made the

voter rolls more accurate given other mechanisms to achieve accuracy); id. at 341:4–

342:21 (providing no reason for the no-contact requirement, given Georgia’s

partnerships with the U.S. Postal Service and the Electronic Registration Information

Center, beyond the fact that he believed it was “what the Georgia law requires”);

Press Release, Secretary Raffensperger Fights “Voter Purge” Narrative, Releases



6
  The relief Plaintiffs seek is based on federal law, not state law. See Brown v. Ga.
Dep’t of Revenue, 881 F.2d 1018, 1023–24 (11th Cir. 1989) (finding Pennhurst State
Sch. & Hosp. v. Halderman, 465 U.S. 89 (1984), is “no bar” to “relief . . . granted as
a matter of federal due process”).

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Address Change Notices (May 30, 2019) (“By partnering regularly with

stakeholders like the US Postal Service, we’re ensuring that only registered, eligible

voters are participating in our elections . . . .”).

       Both Anderson and Burdick require this Court to balance the burdens of the

purge “against the precise interests put forward by the State as justifications . . .

taking into consideration the extent to which those interests make it necessary to

burden the plaintiff’s rights.” Burdick, 504 U.S. at 434 (quotation marks omitted).

In this case, the burdens on Georgia’s voters are significant, and the State simply has

no interest whatsoever—and certainly not a compelling interest—in purging from

its rolls 120,561 voters who have been inactive for seven years. Because the State

has no interest in placing this substantial burden on Georgia’s voters—and indeed,

the SOS’s actions directly undermine the legislature’s aims—Plaintiffs have shown

a substantial likelihood of success on the merits.

   B. Plaintiffs Will Suffer Irreparable Harm Absent a TRO.

       As the Eleventh Circuit and other courts have recognized, a violation of a right

as fundamental as the right to vote “almost always inflicts irreparable harm.” League

of Women Voters of Fla. v. Browning, 863 F. Supp. 2d 1155, 1167 (N.D. Fla. 2012);

see, e.g., Charles H. Wesley Educ. Foundation, Inc. v. Cox, 408 F.3d 1349, 1355

(11th Cir. 2005) (plaintiffs’ “franchise-related rights” were “threatened with

significant, irreparable harm” by Georgia’s refusal to process voter registration


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applications); Fish v. Kobach, 840 F.3d 710, 752-53 (10th Cir. 2016) (“weigh[ing]

heavily” as part of an irreparable harm analysis, the “constitutionally protected

fundamental” nature of the right to vote, and finding irreparable harm in the denial

of that right caused by cancellation and suspension of registration applications);

Obama for Am. v. Husted, 697 F.3d 423, 436 (6th Cir. 2012) (“A restriction on the

fundamental right to vote . . . constitutes irreparable injury.”); Williams v. Salerno,

792 F.2d 323, 326 (2d Cir. 1986) (finding that voter registrants “would certainly

suffer irreparable harm if their right to vote were impinged upon”); Common

Cause/Georgia v. Billups, 406 F. Supp. 2d 1326, 1376 (N.D. Ga. 2005) (“[T]he right

to vote is a fundamental right and is preservative of all other rights. Denying an

individual the right to vote works a serious, irreparable injury upon that

individual.”); see also Yick Wo v. Hopkins, 118 U.S. 356, 370 (1886) (recognizing

the likelihood of irreparable harm is greater where claims implicate a “fundamental

political right . . . [that is] preservative of all rights”).

       Today’s planned purge will violate Plaintiffs’ members’ right to vote by

stripping them of their status as eligible voters two years before they can be legally

deregistered. See supra at 6-7. This harm “cannot be undone through monetary

remedies.” Scott v. Roberts, 612 F.3d 1279, 1295 (11th Cir. 2010) (quotation marks

omitted); see Dillard v. Crenshaw Cty., 640 F. Supp. 1347, 1363 (M.D. Ala. 1986)

(“Given the fundamental nature of the right to vote, monetary remedies would


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obviously be inadequate. . .; it is simply not possible to pay someone for having been

denied a right of this importance.”). And, given that Plaintiff’s voting members are

slated for deregistration today, the harm is inarguably “actual and imminent,” Siegel

v. LePore, 234 F.3d 1163, 1176 (11th Cir. 2000) (quotation marks omitted).7 See

Germany Dep. (Rough) at 38:12-20.

      The threat of disenfranchisement posed by the SOS’s scheduled purge is

neither theoretical nor speculative. Because the inactive voter list very likely

includes voters who are still eligible to vote, see supra at 14-15, and the SOS will

not inform voters they have been deregistered, many voters purged today will not

discover they are no longer registered until they arrive to vote. See supra at 15.

Because Georgia does not offer same-day registration these voters may not be able

to vote at all in the March 2020 primaries. And “[o]nce the election comes and goes,

‘there can be no do-over and no redress.’” Madera v. Detzner, 325 F. Supp. 3d 1269,

1282 (N.D. Fla. 2018) (quoting League of Women Voters of N.C. v. North Carolina,

769 F.3d 224, 247 (4th Cir. 2014)). The purge “likely will cause a number of

Georgia voters to be unable to cast a vote and to have their votes counted,” and thus

will undoubtedly inflict irreparable injury on Plaintiffs, if not enjoined. Common


7
  Plaintiffs have sought this TRO expeditiously. Plaintiffs did not know that a purge
was scheduled for today until the Germany deposition. Historically, the SOS has
not scheduled purges in any meaningfully consistent way and indeed has
traditionally not conducted purges during active litigation over the validity of its
practices. See Am. Compl. ¶ 78.

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Cause/Georgia, 406 F. Supp. 2d at 1375 (rejecting argument that voter photo

identification requirement would not impair right to vote because voters could vote

absentee, in part because “a significant number of the registered Georgia voters”

lacking identification “likely [were] unaware of [the absentee] alternative,” and thus

would likely “forgo going to the polls.”).

   C. The Balance of Equities Heavily Favor Plaintiffs, and a TRO Is in the
      Public Interest.

      Georgia has no interest in purging 120,561 voters in violation of its own laws.

See supra at 17-20. With no interest from the State to weigh on the scale, the balance

of equities must tip in favor of Plaintiffs, who seek only to ensure that eligible voters

are not unlawfully disenfranchised. See, e.g., Ga. Coal. for People’s Agenda, 347

F. Supp. 3d at 1268; Browning, 863 F. Supp. 2d at 1167; Common Cause/Georgia,

406 F. Supp. 2d at 1375-76; see also N.C. State Conference of the NAACP v. N.C.

State Bd. of Elections, No. 1:16CV1274, 2016 WL 6581284, at *10 (M.D.N.C. Nov.

4, 2016) (“Any additional burden that may result from restoring voter registrations

that were improperly canceled should fall on the State, not on the voter.”). A TRO

enjoining the SOS from deregistering eligible voters, moreover, will not impose any

burden on the State: given Germany’s representation that all “no contact” voters set

for purge have been “no contact” for less than nine years, and thus cannot legally be




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purge, the SOS can comply with the TRO by simply leaving the registrations of all

“no contact” voters alone until they are actually eligible for deregistration.

      Nor can there be any public interest in enforcing a law that deprives eligible

voters of their fundamental right to vote. Scott, 612 F.3d at 1297 (“[T]he public,

when the state is a party asserting harm, has no interest in enforcing an

unconstitutional law”).    To the contrary, the public “has a ‘strong interest in

exercising the fundamental political right to vote,’” which “is best served by

favoring enfranchisement and ensuring that qualified voters’ exercise of their right

to vote is successful.” Obama for Am., 697 F.3d at 436-37 (quoting Purcell v.

Gonzalez, 549 U.S. 1, 4 (2006) (internal quotation marks omitted)). Through the

enactment of HB 316, Georgia residents have made clear that their interests will be

served, not stymied, by a TRO that only seeks to prevent the SOS from illegally

disenfranchising eligible voters.

                                    CONCLUSION

      For the foregoing reasons, Plaintiffs respectfully request that the Court enter

a Temporary Restraining Order and Preliminary Injunction enjoining Defendants

from purging 120,561 voters from Georgia’s rolls on the basis of fewer than nine

years of inactivity. Plaintiffs respectfully request that the Court hear the motion

today due to the planned December 16, 2019 voter purge by Defendants, which

would remove tens of thousands of Georgia residents from Georgia’s voter rolls.


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Plaintiffs further request that this Court set this matter for a hearing on its motion for

preliminary injunction on expedited basis and with the opportunity for the parties to

submit additional evidence and briefing as appropriate.



                           Respectfully submitted,



   December 16, 2019              /s/Leslie J. Bryan
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                        CERTIFICATE OF SERVICE

      I hereby certify that, on December 16, 2019, I caused to be served the

foregoing MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR A

TEMPORARY           RESTRAINING           ORDER        AND      PRELIMINARY

INJUNCTION by filing it with the Court using the ECF system, which will effect

service on opposing counsel:

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